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 7
   Attorneys for the United States of America
 8

 9
                                    UNITED STATES DISTRICT COURT
10
                                  NORTHERN DISTRICT OF CALIFORNIA
11

12 IN RE: REQUEST FOR INTERNATIONAL                 ) MISC. NO. 25-mc-80059
   JUDICIAL ASSISTANCE FROM THE                     )
13 NATIONAL COURT OF FIRST INSTANCE                 )
   OF LABOR NO. 5 IN BUENOS AIRES,                  ) EX PARTE APPLICATION FOR ORDER
14 ARGENTINA IN CARMEN VERONICA                     ) PURSUANT TO 28 U.S.C. § 1782
   MAXIOTTA V. MATIZ S.A.                           )
15                                                  )
                                                    )
16                                                  )

17
            Patrick D. Robbins, Acting United States Attorney for the Northern District of California, by the
18
     undersigned Assistant United States Attorney, Molly A. Friend, petitions this Court for an Order
19
     pursuant to 28 U.S.C. § 1782(a), appointing Molly A. Friend, Assistant United States Attorney,
20
     Commissioner for the purposes of obtaining documents from Google LLC (“Google”). Certain
21
     information has been requested by the National Court of First Instance of Labor No. 5 in Buenos Aires,
22
     Argentina (the “Argentine Court”) pursuant to a Letter of Request issued in connection with a civil
23
     judicial proceeding captioned: Carmen Veronica Maxiotta v. Matiz S.A., Foreign Reference Number
24
     53799/2021.
25
            The grounds for this ex parte Application are more fully articulated in the Memorandum of Law
26
     that has been simultaneously filed with the Application. A Proposed Order is also provided for the
27
     convenience of the Court.
28

     EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
            Case 4:25-mc-80059-DMR          Document 1       Filed 03/11/25     Page 2 of 3




 1         Google does not object to entry of the accompanying Proposed Order as drafted, which allows
 2 Google to provide notice to the affected user(s). Google reserves all rights and objections in responding

 3 to the underlying subpoena.

 4 DATED: January 27, 2025                                     Respectfully submitted,

 5                                                             PATRICK D. ROBBINS
                                                               Acting United States Attorney
 6
                                                               /s/ Molly A. Friend
 7
                                                               MOLLY A. FRIEND
 8                                                             Assistant United States Attorney

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     EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
            Case 4:25-mc-80059-DMR           Document 1       Filed 03/11/25     Page 3 of 3




 1                                      CERTIFICATE OF SERVICE

 2
                                   United States of America v. Google LLC
 3                                               USDC Case #
 4
          The undersigned hereby certifies that she is an employee of the Office of the United States
 5 Attorney for the Northern District of California and is a person of such age and discretion to be
   competent to serve papers. The undersigned further certifies that she is causing a copy of the following:
 6
   1. EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782;
 7 MEMORANDUM IN SUPPORT; DECLARATION IN SUPPORT; PROPOSED ORDER

 8 to be served this date upon the party in this action by placing a true copy thereof in a sealed envelope,
   and served as follows:
 9
10 [] FIRST CLASS MAIL by placing such envelope(s) with postage thereon fully prepaid in the
        designated area for outgoing U.S. mail in accordance with this office's practice.
11 [] CERTIFIED MAIL (# ) by placing such envelope(s) with postage thereon fully prepaid in the
        designated area for outgoing U.S. mail in accordance with this office's practice.
12 [] FACSIMILE (FAX)
   [] PERSONAL SERVICE (BY MESSENGER)
13
   [] FEDERAL EXPRESS via Priority Overnight
14 [X] EMAIL-Pursuant to written agreement of the parties to accept service by electronic mail
   [] USAfx
15
   To the party(ies) last known address as follows:
16 Google Legal Investigations

17 Google-legal-support@google.com

18          I declare under penalty of perjury under the laws of the United States that the foregoing is true
     and correct.
19
            Executed on March 11, 2025, at San Francisco, California.
20

21                                               /s/ Molly A. Friend
                                                 Molly A. Friend
22                                               Assistant United States Attorney

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     EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
